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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________

 No. 22-1394
                                     CLARE E. MUNDELL,

                                       Plaintiff, Appellee,

                                                v.

                                  ACADIA HOSPITAL CORP.,

                                      Defendant, Appellant,

                        EASTERN MAINE HEALTHCARE SYSTEMS,

                                           Defendant.

                                      __________________

                                          JUDGMENT

                                    Entered: February 1, 2024

         This cause came on to be heard on appeal from the United States District Court for the
 District of Maine and was argued by counsel.

          Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 district court's judgment and its award of damages for Clare Mundell are affirmed.

       Appellant Acadia Hospital Corp.'s motion to certify a question of law to the Maine
 Supreme Judicial Court sitting as the Law Court is denied.


                                                     By the Court:

                                                     Maria R. Hamilton, Clerk


 cc: David G Webbert, Melissa A. Hewey, Kasia Soon Park, Janna L. Gau, Kady Huff, Sunu P.
 Chandy, Zachary Heiden, Carol J. Garvan, Anahita Sotoohi, Gillian L. Thomas
